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                   8                             UNITED STATES DISTRICT COURT
                   9                            CENTRAL DISTRICT OF CALIFORNIA
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                11            MICHAEL SPOTTS,                     Case No. 5:20-cv-01467 JGB (KKx)
                12                       Plaintiff,               ORDER GRANTING JOINT
                                                                  STIPULATION FOR DISMISSAL
                13                v.                              WITH PREJUDICE PURSUANT
                                                                  TO FED. R. CIV. P. 41(a)(1)(A)(ii)
                14            AMAZON.COM SERVICES, INC.
                              and DOES 1-50, inclusive,           ASSIGNED FOR ALL PURPOSES TO
                15                                                THE HON. JESUS G. BERNAL
                                         Defendants.
                16                                                Trial Date:          Nov. 30, 2021
                                                                  Complaint Filed:     June 5, 2020
                17                                                (Riverside County Superior Court)
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LITTLER MENDELSON P.C.
                              ORDER GRANTING
                                                             2.
    2049 Century Park East
           5th Floor
 Los Angeles, CA 90067.3107
         310.553.0308
                              DISMISSAL                                            5:20-CV-01467 JGB (KK)
                    Case 5:20-cv-01467-JGB-KK Document 25 Filed 10/18/21 Page 2 of 2 Page ID #:184



                   1                                                ORDER
                   2                The Court has reviewed the Joint Stipulation for Dismissal with Prejudice filed
                   3          by Defendant AMAZON.COM SERVICES INC. and Plaintiff MICHAEL SPOTTS.
                   4                IT IS HEREBY ORDERED that Plaintiff’s Complaint in the above-referenced
                   5          action is dismissed with prejudice pursuant to Federal Rule of Civil Procedure 41(a).
                   6          Each party shall bear their own respective attorneys’ fees and costs incurred in this
                   7          action.
                   8                IT IS SO ORDERED.
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                10 Dated:               October 18, 2021
                                                                      HON. JESUS G. BERNAL
                11                                                    UNITED STATES DISTRICT JUDGE
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LITTLER MENDELSON P.C.
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